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June 27, 2011
l/rA ELECTRoNic FiLrNG

The Honorab|e Leonie lVl. Brinkema

United States District Judge

United States District Court for the Eastern District of Virginia
Albert V. Bryan Courthouse

401 Courthouse Square

Alexandria, Virginia 22314

Re: intersections Inc., et al. v. Joseph C. Loomis, et al., Case No. 1:09-cv-00597-LMB-TCB
Dear Judge Brinkema:

As you will recall, we represent the plaintiffs in the above-referenced action. This letter is submitted with
the cooperation of the defendants

By Order entered on Apri| 8, 2011, the Court stayed this action and directed the parties to provide to the
Court by June 30, 2011 a status report on their efforts to conclude their settlement. We are pleased to
report that the United States Bani<ruptcy Court for the District of Arizona has approved the settlementl
and the parties are taking steps to finalize the transactions provided for under the settlement (including
the conveyance of various parcels of real estate). We anticipate that a closing of the transactions
provided for under the settlement will take place within the next month. Accordingly, the parties request
that the stay of this action be extended through August 1, 2011. Once the closing has occurred, we will
promptly tile a stipulation of dismissal

Thank you for your consideration.
Respectfully submitted,

|V|iche||e J. Dickinson

TC<§>

cc: Timothy J. lVlcEvoy, Esquire (vie electronic mail)
Jenni lVl. Loomis (via overnight courier)

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